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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

ANTONIO D. WOODLEY,

     Movant,
                                              Case No. CV413-167
v.                                                     CR408-315

UNITED STATES OF AMERICA,

      Respondent.

                  REPORT AND RECOMMENDATION

      Having unsuccessfully sought 28 U.S.C. § 2255 relief in 2013,

CR408-315, doc. 1471, Antonio D. Woodley moves “this Court to hold

petitioner's deadline filing date as I wait for (11th Cir.) Court approval

for filing a Second or Successive [§ 2255] Petition pursuant to Johnson ,

13-7120 cumalating [sic] with Welch retroactivity [sic].” 1 Doc. 1572. The

Eleventh Circuit docket confirms this: In re: Antonio Woodley , No. 16-

13774 (11th Cir. June 20, 2016). Woodley’s motion is DENIED as

unnecessary. Doc. 1471. His Eleventh Circuit successiveness

application court met the June 26, 2016 deadline for Johnson claims as

1
 See Johnson v. United States , 576 U.S. ––––, 135 S. Ct. 2551 (2015); Welch v. United
States , ––– U.S. –––, 136 S. Ct. 1257 (2016).
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illuminated in In re Robinson ,                    F.3d ___, 2016 WL 1583616 at * 2

(11th Cir. April 19, 2016).

         That filing stopped the § 2255(f) clock. See § 2255(h) (referencing

certification requirement “as provided in [28 U.S.C. § 2244]”); 28 U.S.C.

§ 2244(d)(2) (stopping the one-year 2255(f) clock for any “properly filed

application for State post-conviction or other collateral review with

respect to the pertinent judgment. . . .”) (emphasis added); see also

Martin v. Ramirez , 2016 WL 447600 at * 2 (D. Idaho Feb. 4, 2016)

(reminding that the clock is not stopped between final rulings during the

post-conviction review process).

         Likewise, Woodley’s June 24, 2016 docket-filed § 2255 motion (he

signed it on June 22, 2016, doc. 1573 at 5) should be DISMISSED as

successive, but for good measure the Clerk should be DIRECTED to

transfer it directly to the Eleventh Circuit Court of Appeals. 2 Otherwise,

2
    As explained by another court:

      Because the transfer statute, 28 U.S.C. § 1631, specifically provides that the
      “action or appeal shall proceed as if it had been filed in or noticed for the court
      to which it is transferred on the date upon which it was actually filed in or
      noticed for the court from which it is transferred,” the transfer
      recommendation anticipates that if the [Eleventh] Circuit authorizes
      Petitioner's second or successive section 2255 motion after the expiration of
      the one-year limitation period, Petitioner's section 2255 motion would be
      reinstated to this Court's docket and would be considered to have been timely
      filed.

                                               2
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he should be DENIED a certificate of appealability pursuant to Rule 11

of the Rules Governing Section 2255 Cases because he has made no

substantial showing of the denial of a constitutional right within the

meaning of 28 U.S.C. § 2253(c)(2).

      SO REPORTED AND RECOMMENDED, this 28th day of

June, 2016.

                                                                              -




                                          LWIIEJ) STATES MAGISTRATE ThJDGE
                                          SOUTI-IERN DISTRICT OF GEORGIA




Pierre-Louis v. United States , 2016 WL 3167070 at * 2 (D. Me. June 6, 2016); see also
In re Jackson , No. 16-13536, ___ F.3d ___ (11th Cir. June 24, 2016) (discussing how
the limitations clock is stopped during the pendency of a successive-filing request,
and how district courts may otherwise apply equitable tolling, the mailbox rule, etc.).

                                           3
